          Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 1 of 7


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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                    2O2UJUL 10 PM 1:20
                                      AUSTIN DIVISION

 EMILY GILBY; TEXAS                                  §
                                                                             wi__           I
 DEMOCRATIC PARTY;                                   §
 DEMOCRATIC SENATORIAL                               §
 CAMPAIGN COMMITTEE;                                 §
 DEMOCRATIC CONGRESSIONAL                            §
 CAMPAIGN COMMITTEE; AND                             §
 TERRELL BLODGETT,                                   §
                 PLAINTIFFS,                         §
                                                     §
 V.                                                  §         CAUSE NO. 1 :19-cv-01063-LY
                                                     §
 RUTH HUGHS IN HER OFFICIAL                         §
 CAPACITY AS THE TEXAS                              §
 SECRETARY OF STATE,                                §
                DEFENDANT.                          §

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       Before the court in the above-styled cause of action are Plaintiffs Emily Gilby, Texas

Democratic Party Democratic Senatorial Campaign Committee, Democratic Congressional

Campaign Committee, and Terrell Blodgett's Motion to Compel Production of Documents and

Continue the Rule 30(b)(6) Deposition of Defendant Texas Secretary of State Ruth Hughs filed

June 8, 2020 (Doc. #82); Defendant Ruth Hughs Response to Plantiffs' Motion to Compel filed

June 12, 2020 (Doc. #88);1 and Plaintiffs' reply filed June 19, 2020 (Doc. # 89). Having carefully

considered the motion, response, reply, and the applicable law, the court will grant the motion to

compel for the reasons to follow.




  Throughout this order, Plaintiffs Emily Gilby, Texas Democratic Party Democratic Senatorial
Campaign Committee, Democratic Congressional Campaign Committee, and Terrell Blodgett will
be collectively referred to as "Plaintiffs," and Defendant Ruth Hughs as the "Secretary."
           Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 2 of 7




I. Factual Background

        The Secretary produced hundreds of documents that were later sequestered based on

legislative privilege, deliberative-process privilege, or both. The sequestration resulted from

questions asked of the Secretary's witness, Keith Ingram, during his deposition.2 When Plaintiffs

questioned Ingram regarding the documents, Ingram was instructed by counsel not to answer

because the referenced documents were inadvertently produced and subject to privilege. Plaintiffs

move to compel the Secretary to produce the documents and continue the deposition of Ingram.

II. Relevance

        Plaintiffs contend that the information at issue here is relevant and critical to Plaintiffs'

case in part because the discussions "are relevant to establishing the burden on Plaintiffs' right to

vote, the legitimacy of the state's interests   andsince many of the documents appear to include
discussions with the legislaturethe question of whether the legislature's purported intent for

passing H.B. 1888 was mere pretext."

        The Secretary responds that "the information      . . .   is tangential to this litigation   . . .   and

will not further the Court's or the parties' stated goal of bringing this case to a conclusion at trial,"

and that "Plaintiffs make no attempt to explain why confidential communications in a case

concerning passage of legislation requiring uniform ballot access should extend beyond the

disclosures required in other statutory challenges involving claims of unconstitutional motivation

or purpose."




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  The documents were originally produced on May 8 and May 27, 2020. Ingram's deposition took
place on May 29. The documents were sequestered and added to a privilege log on June 2.

                                                   2
               Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 3 of 7




            The court concludes that the documents and deposition sought by the Plaintiffs are relevant

to Plaintiffs' case.      Fed. R. Civ. P. 26(b)(1) ("Parties may obtain discovery regarding any

nonprivileged matter that is relevant to any party's claim or defense and proportional to the needs

of the case."). The only remaining dispute is whether the documents are entitled to privilege.

III. Legislative Privilege

            Legislative privilege is an evidentiary privilege "governed by federal common law, as

applied through Rule 501 of the Federal Rules of Evidence." Jefferson Cmty. Health Care Centers,

Inc.   v.   Jefferson Par. Gov 't, 849 F.3d 615, 624 (5th Cir. 2017) (quoting Perez   v.   Perry, No.   SA-


1   1-CV-360-OLG-JES, 2014 WL 106927, at *1 (W.D. Tex. Jan. 8,2014)). Although the common-

law legislative immunity for state legislators is absolute, the legislative privilege for state

lawmakers is qualified. Id. (quotations omitted); see e.g. Viii. ofArlington Heights v. Metro. Hous.

Dev. Corp., 429 U.S. 252, 267 (1977) ("The legislative or administrative history may be highly

relevant, especially where there are contemporary statements by members of the decisionmaking

body, minutes of its meetings, or reports. In some extraordinary instances the members might be

called to the stand at trial to testify concerning the purpose of the official action, although even

then such testimony frequently will be barred by privilege.").

            Legislative privilege is strictly construed and accepted only to the limited extent that

permitting a refusal to testify or excluding relevant evidence has a public good transcending the

normally predominant principle of utilizing all rational means for ascertaining the truth. Jefferson

Cmty., 849 F.3d at 624. Legislative privilege protects legislators from possible prosecution by an

unfriendly executive and conviction by a hostile judiciary, and is one means for ensuring the

independence of the legislature, United States      v.   Johnson, 383 U.S. 169, 179 (1966), in other


                                                    3
             Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 4 of 7




words, it serves to preserve the constitutional structure of separate, coequal, and independent

branches of government, see United States         v.   Heistoski, 442 U.S. 477, 491 (1979).

          Legislative privilege is a personal one and may be waived or asserted by each individual

legislator. Perez, 2014 WL 106927, at        * 1.      A legislator cannot assert or waive the privilege on

behalf of another legislator and "neither the Governor, nor the Secretary of State or the State of

Texas has standing to assert the legislative privilege on behalf of any legislator or staff member

that may be deposed." Id; see e.g. Gravel              v.       U S., 408 U.S. 606, 625 (1972) ("Members of

Congress are constantly in touch with the Executive Branch of the Government and with

administrative   agenciesthey may cajole, and exhort with respect                     to the administration of a

federal   statutebut such conduct, though generally                 done, is not protected legislative activity.")

To the extent that legislators or legislative staff communicated with any outsider (e.g. non-

legislators, non-legislative staff) any legislative privilege is waived as to the contents of those

specific communications. Perez, 2014 WL 106927, at *2.

          The Secretary does not have standing to invoke legislative privilege. Therefore, the court

will grant Plaintiffs' motion to compel regarding documents withheld on the grounds of legislative

privilege.

IV. Deliberative Process Privilege

          "The deliberative process privilege       . .     .   is encompassed within the executive privilege,"

Grand Cent. P'ship, Inc.   v.   Cuomo, 166 F.3d 473,481 (2d Cir. 1999) (internal quotations omitted),

and protects the "decision making processes of government agencies, reflecting advisory opinions,

recommendations and deliberations comprising part of a process by which governmental decisions

and policies are formulated." N. L. R. B.    v.     Sears, Roebuck & Co., 421 U.S. 132 (1975) (citations


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            Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 5 of 7




and quotations omitted). Deliberative-process privilege is predicated on the recognition "that the

quality of administrative decision-making would be seriously undermined if agencies were forced

to operate in a fishbowl." Wolfe v. Dep 't ofHealth & Human Sen's., 839 F.2d 768, 773 (D.C. Cir.

1988) (en banc). "The deliberative process privilege rests on the obvious realization that officials

will not communicate candidly among themselves if each remark is a potential item of discovery

and front page news," and its object is to "enhance the quality of agency decisions, by protecting

open and frank discussion among those who make them within the Government." Dep 't oflnterior

v.   Klamath Water Users Protective Ass 'n, 532 U.s.      1,   8-9 (2001) (citations and quotations

omitted).

         Deliberative-process privilege protects candid discussions within the executive branch

needed for optimum administrative decision making. This rationale does not support privilege for

communications where the agency is not the decision maker and the separation of powers veil has

been pierced. At issue here is not the internal decision-making processes of the executive branch,

but instead a part of the legislative process. Therefore, the Secretary is not entitled to traditional

deliberative-process privilege.

         The secretary asks the court to expand deliberative-process privilege to protect

"legislators['] need [for] flexibility to obtain candid input about pending legislation from the

Executive Branch that will ultimately enforce, implement, or provide interpretations of law."

However, this contention is inconsistent with the purposes of both legislative privilege and

deliberative-process privilege.   See Heistoski, 442 U.s. at 491 (legislative privilege protects

legislators from intimidation by the executive and judicial branches); Kiamath, 532 U.s. at 8-9

(deliberative-process privilege protects candor in agency decision making).          The Secretary's


                                                  5
           Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 6 of 7




interpretation of deliberative-process privilege would, if granted, privilege of all communications

between legislators and outsiders from cradle to grave. Communications received by the Secretary

from legislators looking to obtain guidance in formulating legislation are not meaningfully

different from communications received by constituents from legislators or communications

received by lobbyists, think-tanks, or any outsider. The court declines to expand the deliberative-

process privilege in such a manner.

       The Secretary conflates legislative privilege and deliberative-process privilege in her

argument that Texas v. Holder, supports the re-interpretation of deliberative-process privilege. No.

12-128, 2012 WL 13070060, at *4 (D.D.C. June 5, 2012). The court need not address whether

legislative privilege applies to a legislator's request for information from a State agency regarding

pending legislation because the Secretary has no standing to assert legislative privilege. Therefore,

the court will grant Plaintiffs' motion to compel regarding the documents withheld on the grounds

of deliberative-process privilege.

V. Conclusion

       The Secretary has not satisfied her burden to show that privilege applies to relevant

documents under Fed. R. Civ. P. 26. Therefore,

       IT IS ORDERED that Plaintiffs Motion to Compel Production of Documents and

Continue the Rule 30(b)(6) Deposition of Defendant Texas Secretary of State Ruth Hughs filed

June 8, 2020 (Doc. #82) is GRANTED. Plaintiffs are entitled to production responsive to their

request as follows:

        (1) Production of documents withheld based on legislative privilege.

        (2) Production of documents withheld based on deliberative-process privilege.
   Case 1:19-cv-01063-LY Document 96 Filed 07/10/20 Page 7 of 7




(3) Continuation of the deposition of the Secretary's witness to question him regarding the

subject matter of the withheld documents under (1) and (2) above.

SIGNED this    /day            of July, 2020.




                                     UN TED STATES         ISTRICT JUDGE
